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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                       CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                     ORDER TO DENY REQUEST TO DISMISS
            vs.                                            (Doc. 85.)
13
     NORTHERN CALIFORNIA
14   UNIVERSAL ENTERPRISES
     COMPANY, et al,
15
                            Defendants.
16                                             /
17          On June 22, 2009, plaintiff filed a notice to attempt to dismiss defendant DeWalt CM, Inc.
18   Plaintiff’s attempt to dismiss the defendant fails to comply with F.R.Civ.P. 41(a)(1)(A)(ii), which
19   requires a stipulation signed by a defendant who has filed an answer. As such, this Court DENIES
20   dismissal of the defendant in the absence of compliance with F.R.Civ.P. 41(a)(1)(A)(ii). This Court
21   ORDERS plaintiff and defendant, no later than June 30, 2009, to file a stipulation which satisfies
22   F.R.Civ.P. 41(a)(1)(A)(ii) and a proposed order to dismiss the defendant. This Court ADMONISHES
23   counsel to obey the Federal Rules of Civil Procedure and this Court’s Local Rules.
24          IT IS SO ORDERED.
25   Dated:       June 23, 2009                        /s/ Lawrence J. O'Neill
     66h44d                                        UNITED STATES DISTRICT JUDGE
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